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                            Case No. 23-55714

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

                      CHAYA LOFFMAN, ET AL.,
                          Plaintiffs – Appellants,
                                     v.

       CALIFORNIA DEPARTMENT OF EDUCATION, ET AL.,
                         Defendants – Appellees.
         On Appeal from the United States District Court for the
                      Central District of California
             District Court No. 2:23-cv-001832-JLS-MRW
                   The Honorable Josephine L. Staton
THE STATE APPELLEES’ SUPPLEMENTAL EXCERPTS OF RECORD



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  9    CHAYA       LOFFMAN        and    JONATHAN                Case No.:
 10
 10    LOFFMAN, on their own behalf and on behalf of             2:23-cv-01832-JLS-MRW
       their minor child M.L.; FEDORA NICK and
 11
 11    MORRIS TAXON, on their own behalf and on
       behalf of their minor child K.T.; SARAH                   PLAINTIFFS’
 12
 12                                                              MEMORANDUM IN
       PERETS and ARIEL PERETS, on their own                     SUPPORT OF MOTION FOR
       behalf and on behalf of their minor child N.P.;           PRELIMINARY
 13
 13
       JEAN & JERRY FRIEDMAN SHALHEVET                           INJUNCTION
 14
 14    HIGH SCHOOL; and SAMUEL A. FRYER
       YAVNEH HEBREW ACADEMY,
                                                                 Date: July 21, 2023
 15
 15          Plaintiffs,                                         Time: 10:30 AM
 16
 16    v.                                                        Courtroom: 8A
                                                                 Judge: Hon. Josephine L. Staton
       CALIFORNIA           DEPARTMENT            OF
 17
 17
       EDUCATION; TONY THURMOND, in his
 18
 18    official capacity as Superintendent of Public
       Instruction;   LOS     ANGELES        UNIFIED
 19
 19    SCHOOL       DISTRICT;       and   ANTHONY
       AGUILAR, in his official capacity as Chief of
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 20    Special Education, Equity, and Access,
 21
 21           Defendants.
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   1                                      INTRODUCTION

   2      This case poses a very simple question: May the government exclude religious

   3   individuals and institutions from a public benefit for no other reason than that they are

   4   religious? The Supreme Court has recently and repeatedly answered that question in the

   5   negative, holding in Carson v. Makin, Espinoza v. Montana Department of Revenue,

   6   and Trinity Lutheran v. Comer that “the exclusion of [a religious party] from a public

   7   benefit for which it is otherwise qualified, solely because it is [religious], is odious to

   8   our Constitution.” Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449,

   9   467 (2017).

 10       The Supreme Court’s answer is both the beginning and the end of this case. Under

 11    California’s implementation of the Individuals with Disabilities Education Act, all

 12    private schools who meet certain eligibility criteria may become certified to receive

 13    children with disabilities as alternatives to a public school education—but only so long

 14    as they are “nonsectarian.” But binding Supreme Court precedent declares such a

 15    restriction to be a clear-cut violation of the First Amendment, functioning to coerce

 16    religious individuals and schools into choosing between their faith and a public benefit

 17    to which they would otherwise be entitled.

 18       This is precisely the effect that California’s “nonsectarian” restriction has had on

 19    Plaintiffs. Plaintiffs are Orthodox Jewish parents and their children with disabilities who

 20    seek placement in Jewish schools, as well as two Orthodox Jewish schools who wish to

 21    explore becoming certified for such placements. Plaintiffs hold the sincere religious

 22    conviction that providing a religious education to children with disabilities is

 23    imperative, just as it is for nondisabled children. Yet California’s regime forces Jewish



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   1   parents to the choice of either following their faith or self-funding the often exorbitant

   2   costs of the tools and services needed to allow their children with disabilities to thrive.

   3   If they cannot absorb these costs, day by day and year by year, their children are

   4   irreparably deprived of a religious education. And if they can somehow manage the

   5   burden, they must labor under a unique penalty imposed on them by the government

   6   solely because they have chosen to exercise their faith. Meanwhile, the Orthodox Jewish

   7   schools who feel compelled by faith to explore certification are told in no uncertain

   8   terms by the government that, because they are religious, they need not apply.

   9      California’s explicit discrimination toward religious families and schools simply

 10    cannot be reconciled with the First Amendment and Supreme Court precedent. This

 11    Court should grant a preliminary injunction against California’s constitutional violation,

 12    allowing parent Plaintiffs to obtain the religious education their Plaintiff children with

 13    disabilities deserve, and Plaintiff schools the right to serve them.

 14                         FACTUAL AND LEGAL BACKGROUND

 15       A. The Individuals with Disabilities Education Act

 16       Congress passed the Individuals with Disabilities Education Act (IDEA) in 1990 as

 17    part of our “national policy of ensuring equality of opportunity, full participation,

 18    independent living, and economic self-sufficiency for individuals with disabilities.” 20

 19    U.S.C. § 1400(c)(1). Building off the 1975 Education for All Handicapped Children

 20    Act, IDEA served as the latest in a twenty-five-year-long legislative effort to strengthen

 21    programs that would “provide for the education of all children with disabilities” and

 22    eradicate the historical discrimination preventing children with disabilities from

 23    receiving a mainstream education—or any education at all. See 20 U.S.C. § 1400(c)(2),



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 1   given nonkosher food to eat. Id. ¶¶ 22-25. School officials have even explicitly

 2   questioned the Peretses’ interpretation of Jewish law, instructing them to send N.P. to

 3   school during the Jewish holiday Sukkot. Id. ¶¶ 26-28. But like the Taxons, California’s

 4   nonsectarian requirement prohibits the Peretses from advocating that N.P. be placed in

 5   an Orthodox Jewish school. Id. ¶ 30. Instead, he remains in public school, where day

 6   by day he loses the opportunity to receive an education crucial to nurturing his faith and

 7   supporting his disability. Id. ¶ 31.

 8      D. School Plaintiffs’ attempts to support students with disabilities

 9      The Jean & Jerry Friedman Shalhevet High School and the Samuel A. Fryer Yavneh

10   Hebrew Academy are co-educational, dual-curriculum Orthodox Jewish schools

11   located in Los Angeles, California. Block Decl. ¶¶ 2-3; Einhorn Decl. ¶¶ 2-3. They are

12   committed to helping Orthodox Jewish parents fulfill their duty to provide an Orthodox

13   Jewish education to their children. Block Decl. ¶¶ 4-7; Einhorn Decl. ¶ 5. As such,

14   alongside secular studies, Shalhevet and Yavneh emphasize a “deep commitment to

15   Torah.” Block Decl. ¶ 6; see also Einhorn Decl. ¶¶ 3-6.

16      Shalhevet and Yavneh both believe it is important to create a learning environment

17   that includes as many in the Jewish community as possible, including students with

18   disabilities. Block Decl. ¶¶ 9-10; Einhorn Decl. ¶ 9. As Shalhevet explains, “the Torah

19   commands members of the Jewish community to care for the most vulnerable, including

20   those with disabilities. The Torah further commands us to go and seek out the most

21   vulnerable among us and to welcome them into our community, rather than waiting for

22   them to approach us.” Block Decl. ¶ 10. However, accommodating the needs of students

23   with disabilities often requires considerable financial resources, which Shalhevet and



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 1   Yavneh lack. Block Decl. ¶ 12; Einhorn Decl. ¶ 11. To obtain these needed resources,

 2   Shalhevet and Yavneh would like to explore NPS certification. But they cannot even

 3   begin the process without being put to an “impossible choice”: attest that they are

 4   nonsectarian (and so give up their religious identity) or forgo altogether the opportunity

 5   to provide these services. Block Decl. ¶¶ 14-15; Einhorn Decl. ¶¶ 13-14. Shalhevet and

 6   Yavneh refuse to “disavow [their] religious character as a Jewish educational

 7   institution,” and so they are categorically prohibited from exploring NPS certification.

 8   Block Decl. ¶¶ 15-16; Einhorn Decl. ¶¶ 14-15.

 9      E. This lawsuit

10      On March 13, 2023, Plaintiffs filed this lawsuit. Dkt. 1. Plaintiffs now seek

11   preliminary relief on Counts I, III, and V of the Complaint.

12                                 STANDARD OF REVIEW

13      Preliminary injunctions are appropriate where a plaintiff “establish[es] that he is

14   likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence

15   of preliminary relief, that the balance of equities tips in his favor, and that an injunction

16   is in the public interest.” Klein v. City of San Clemente, 584 F.3d 1196, 1199 (9th Cir.

17   2009). The Ninth Circuit employs a “version of the sliding scale approach” where “a

18   stronger showing of one element may offset a weaker showing of another.” All. for the

19   Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). In considering the likely

20   success on the merits, “[i]t is well established that trial courts can consider otherwise

21   inadmissible evidence in deciding whether or not to issue a preliminary injunction.”

22   Rubin ex rel. NLRB v. Vista Del Sol Health Servs. Inc., 80 F. Supp. 3d 1058, 1072 (C.D.

23   Cal. 2015); see Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009). And “a party



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 1   determined that they were “wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c).

 2   The relevant “amount” required to preserve Defendants’ interests is thus zero. Id.

 3                                    CONCLUSION

 4      The Court should grant a preliminary injunction barring defendants from enforcing

 5   the “nonsectarian” requirement in Cal. Educ. Code §§ 56365 and 56366.

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 7   Dated: May 22, 2023                Respectfully submitted,

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           MEMORANDUM IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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 1                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 2
 3    CHAYA       LOFFMAN        and    JONATHAN           Case No.:
      LOFFMAN, on their own behalf and on behalf of        2:23-cv-01832-JLS-MRW
 4    their minor child M.L.; FEDORA NICK and
 5    MORRIS TAXON, on their own behalf and on
      behalf of their minor child K.T.; SARAH              AMENDED JOINT
 6                                                         RULE 26(f) REPORT
      PERETS and ARIEL PERETS, on their own
 7    behalf and on behalf of their minor child N.P.;
      JEAN & JERRY FRIEDMAN SHALHEVET                      Date: September 1, 2023
 8    HIGH SCHOOL; and SAMUEL A. FRYER                     Time: 10:30 AM
 9    YAVNEH HEBREW ACADEMY,                               Courtroom: 8A
           Plaintiffs,                                     Judge: Hon. Josephine L. Staton
10
      v.
11
      CALIFORNIA           DEPARTMENT            OF
12    EDUCATION; TONY THURMOND, in his
13    official capacity as Superintendent of Public
      Instruction;   LOS     ANGELES        UNIFIED
14    SCHOOL DISTRICT; and ANTHONY
15    AGUILAR, in his official capacity as Chief of
      Special Education, Equity, and Access,
16
            Defendants.
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                            AMENDED JOINT RULE 26(f) REPORT           CDE-SER008
                                           2
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 1   also contend that Plaintiffs are barred from seeking and recovering any damages in this
 2   action.
 3       Plaintiffs’ position regarding the Court’s August 9th Ruling (Dkt. 50): On
 4   August 9, 2023, this Court determined that Plaintiff Schools and the Loffmans lacked
 5   standing, dismissing Plaintiff Schools with leave to amend and the Loffmans without
 6   leave to amend. See Dkt. 50. The Court also found that the Taxons and Peretses had
 7   standing, but granted Defendants’ motions to dismiss all claims on the merits and with
 8   prejudice as to the Taxons and Peretses. Id. The Court also found that sovereign
 9   immunity precluded claims against the California Department of Education and the Los
10   Angeles Unified School District and dismissed those claims with prejudice.
11       Defendants’ position regarding the Court’s August 9th Ruling (Dkt.
12   50): Defendants respectfully submit that the Court’s 51-page ruling speaks for itself
13   and that Plaintiffs’ summary of the decision is imprecise.
14       On August 14, 2023, Plaintiffs filed a notice of appeal. Dkt. 51. Plaintiffs will be
15   appealing the entirety of the district court’s decision instead of amending their
16   complaint. As such, no discovery is anticipated pending a decision from the Ninth
17   Circuit. Per the Court’s order dated July 19, 2023, see Dkt. 47, the parties nevertheless
18   jointly submit a discovery plan based on the Court’s presumptive deadlines.
19       b. Legal issues:
20       The following is a brief description of the key legal issues in this case:
21       1. Whether Defendants are violating the Free Exercise Clause of the First
22          Amendment;
23       2. Whether Defendants are violating the Equal Protection Clause of the Fourteenth
24          Amendment;
25       3. Whether Defendants are violating the unconstitutional conditions doctrine;
26       4. Whether Plaintiffs have standing to bring their claims, and consequently, whether
27          this Court has jurisdiction to proceed;
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                               AMENDED JOINT RULE 26(f) REPORT            CDE-SER009
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 1       The parties have not yet exchanged any discovery, including the initial disclosures
 2   required by Federal Rule of Civil Procedure 26(a). The parties will comply with the
 3   initial disclosure requirements pursuant to Rule 26(a). The parties propose that initial
 4   disclosures be exchanged no later than October 27, 2023.
 5       h. Discovery Plan
 6       On August 14, 2023, Plaintiffs filed a notice of appeal. Dkt. 51. Plaintiffs will be
 7   appealing the district court’s decision instead of amending their complaint. As such, no
 8   discovery is anticipated pending a decision from the Ninth Circuit. Per the Court’s order
 9   dated July 19, 2023, see Dkt. 47, the parties nevertheless jointly submit a discovery plan
10   based on the Court’s presumptive deadlines.
11       1. Rule 26(f)(3)(A)
12       Initial Disclosures will be exchanged no later than October 27, 2023.
13       2. Rule 26(f)(3)(B)
14             a. Discovery Subjects
15                    i. Plaintiffs plan to seek discovery on Defendants’ non-public school
16                       certification requirements, including but not limited to contractual
17                       requirements; Defendants’ enforcement of non-public school
18                       requirements; Defendants’ reasons and motivation for enforcement
19                       of those requirements, Defendants’ application, interpretation,
20                       enforcement of, and compliance with state law; Defendants’
21                       decisions (if any) agreeing to waive any requirements for non-public
22                       school applicants; general information about the operation of
23                       Defendants’ nonpublic school system; whether Defendants have
24                       permitted or denied any religious schools from being certified as
25                       non-public schools.
26                   ii. To the extent the Court does not dismiss Plaintiffs’ claims,
27                       Defendants California Department of Education and Tony
28

                               AMENDED JOINT RULE 26(f) REPORT           CDE-SER010
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                               AMENDED JOINT RULE 26(f) REPORT         CDE-SER011
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14    filing is submitted, concur in this filing’s content and have authorized this filing.
15
16                                         /s/ Eric C. Rassbach
17                                          Eric C. Rassbach

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                               AMENDED JOINT RULE 26(f) REPORT             CDE-SER012
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